UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 MICHAEL D. COHEN,

               Plaintiff,              No. 21 Civ. 10774 (LJL)

                       v.

 UNITED STATES OF AMERICA, et al.,

               Defendants.




                MEMORANDUM OF LAW IN SUPPORT OF MOVING
               DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT




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       The Moving Defendants1 respectfully submit this memorandum of law in support of their

motion to dismiss Plaintiff Michael D. Cohen’s (“Cohen”) complaint against them pursuant to

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

                              PRELIMINARY STATEMENT

       Cohen brings this action against the United States and the seven Individual Moving

Defendants pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 1346, and Bivens v.

Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971). He seeks

monetary damages for 16 days that he spent at a federal correctional institution, FCI Otisville,

rather than on home confinement, while serving a 36-month sentence. He alleges that the Moving

Defendants remanded him to FCI Otisville from a temporary furlough in retaliation for exercising

his right to free speech by writing a book critical of former President Donald J. Trump and brings

claims related to his conditions of confinement while incarcerated during those 16 days. He claims

that the confinement conditions caused high blood pressure, headaches, shortness of breath, and

anxiety. He brings seven causes of action relating to these allegations.

       The Court should dismiss all of Cohen’s claims. First, with respect to his FTCA claims,

Cohen’s First Amendment retaliation claim is not cognizable because there is no waiver of

sovereign immunity with respect to constitutional claims pursuant to the FTCA. Second, Cohen’s

claim for false arrest, false imprisonment, and abuse of process and authority, as well as his



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         The “Moving Defendants” refers to the United States of America (the “United States” or
the “Government) and seven defendants in their individual capacities (“Individual Moving
Defendants”): William Barr (“Barr”), former Attorney General of the United States; Michael
Carvajal (“Carvajal”), Director of the Federal Bureau of Prisons (“BOP”); Jon Gustin (“Gustin”),
Administrator of the Residential Reentry Management Branch of BOP; Patrick McFarland
(“McFarland”), BOP Residential Reentry Manager; James Petrucci (“Petrucci”), Warden of the
Federal Correctional Institution (“FCI”) Otisville; Enid Febus (“Febus”), Supervisory Probation
Officer, United States Probation and Pretrial Services (“Probation Office”); and Adam Pakula
(“Pakula”), Probation Officer, Probation Office.


                                                 1
associated emotional distress claims, are also not cognizable. With respect to the false arrest and

imprisonment claims, Cohen cannot allege that his confinement was “not otherwise privileged”

under New York law—as he is required to do—given that he was already legally confined pursuant

to the judgment in his criminal case and already in the custody of the United States at the time that

the alleged tortious actions occurred. Similarly, Cohen cannot state a claim for abuse of process

or authority given that the Government’s transfer of Cohen to a different place of confinement did

not involve any “legal process” as that term is understood by courts. Moreover, even had Cohen

stated claims for false arrest or imprisonment, abuse of process or authority, or infliction of

emotional distress, his claims fail because there is no private analogue for his claims—a private

person would not be held responsible for transferring a prisoner to a different place of confinement.

Finally, the discretionary function exception to the FTCA, 28 U.S.C. § 2680(a), bars Cohen’s

claims that are premised on allegations of any negligence in remanding Cohen back to FCI

Otisville; allegations relating to his conditions of confinement; and allegations concerning the

Government’s purported negligent hiring, training, retention, and supervision of its employees.

       Cohen’s Bivens claims against the Individual Moving Defendants should also be dismissed

for two reasons. First, “expanding the Bivens remedy is now a ‘disfavored’ judicial activity,”

Ziglar v. Abbasi, 137 S. Ct. 1843, 1857 (2017) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 675

(2009)), and several special factors—including the availability of other remedies, extensive

congressional action in the arena of prison administration, and the risk of intrusion by the Judiciary

into matters of prison administration committed to the responsibility of the Attorney General and

BOP—counsel against extending this remedy to the new contexts presented by Cohen’s First,

Fourth, and Eighth Amendment claims. Second, even if the Court concludes that a Bivens remedy




                                                  2
should be extended into these new contexts, the Individual Moving Defendants are entitled to

qualified immunity.

       Accordingly, the Court should dismiss Cohen’s complaint against the Moving Defendants.

                                        BACKGROUND

       On May 6, 2019, Cohen began serving a 36-month sentence at FCI Otisville based on his

nine felony convictions relating to tax evasion, false statements, and campaign finance crimes. See

United States v. Cohen, 18 Cr. 602 (WHP), ECF No. 29; United States v. Cohen, 18 Cr. 850

(WHP), ECF No. 16; ECF No. 1 (“Compl.”) ¶¶ 4, 52-54. Cohen’s scheduled release date from

FCI Otisville was November 22, 2021. Compl. ¶ 63.

       As alleged in Cohen’s complaint, during his time at FCI Otisville, Cohen began drafting a

book regarding former President Trump, which Cohen publicly discussed. Id. ¶¶ 55-61. Cohen

alleges that in April 2020, he submitted a request to BOP under the Coronavirus Aid, Relief, and

Economic Security (“CARES”) Act, Pub. L. No. 116-136, 134 Stat. 281 (Mar. 27, 2020),

requesting that he be placed on furlough and then home confinement due to his medical condition,

and that BOP approved the request. Compl. ¶¶ 6, 66-69.2 Cohen further alleges that after spending

35 days in solitary confinement for purposes of quarantine, BOP placed him on furlough in May

2020. Id. ¶¶ 70-71. Cohen states that during the furlough period he “made various public

statements demonstrating his intent to publish a tell-all book about President Trump in short

order.” Id. ¶¶ 7, 72.

       According to Cohen, on July 9, 2020, he and his counsel met with Defendant Probation

Officers Pakula and Febus, as well as other federal officers, at the U.S. District Courthouse to

review his home confinement transition paperwork. Id. ¶¶ 15, 73, 95. Cohen claims that Pakula


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       For background regarding the process for placing an inmate on home confinement under
the CARES Act, see Cohen v. Barr, 20 Civ. 5614 (AKH), Gustin Decl. (ECF No. 24).


                                                3
and Febus presented him with a Federal Location Monitoring Program agreement (“FLM

agreement”) that he was required to sign to transition to home confinement. Id. ¶¶ 17, 74. Cohen

alleges that the first condition of the agreement contained a clause that forbade him from having

any engagement with the media, including from publishing his book, which he claims violated his

First Amendment rights. Id. ¶¶ 18-20, 75. Cohen further alleges that because the clause violated

his First Amendments rights, he sought clarification and potential revision of it. Id. ¶¶ 21, 76-79.

According to Cohen, Pakula and Febus agreed to “run [his concerns] up the chain of command.”

Id. ¶¶ 80-86. Cohen states that these Defendants never asked him to sign the FLM agreement, nor

did he refuse to sign it. Id. ¶¶ 87, 97. According to Cohen, after waiting 1.5 hours while the

officers conferred, three U.S. Marshals served Cohen’s counsel with a remand ordered by

Defendant McFarland, which stated that BOP would remand Cohen because he failed to agree to

the terms of the FLM agreement. Id. ¶ 91.

       BOP remanded Cohen to FCI Otisville to serve the remainder of his sentence, which he

claims placed his life in danger due to the COVID-19 pandemic. Id. ¶¶ 21-25. Cohen alleges that

BOP initially placed him in the “special segregated housing unit” before transferring him to

“solitary confinement” where he spent 16 days. Id. ¶¶ 27, 99-100. Cohen alleges that he spent all

but 30 minutes alone in a twelve-by-eight-foot cell and was only permitted to leave his cell for 30

minutes. Id. ¶ 101. He also complained that his cell had “poor ventilation,” “no air conditioning,”

and temperatures that exceeded 100 degrees. Id. ¶ 102. Cohen claims that the conditions posed

“serious health risks” for him, noting that “[a]t times his blood pressure became dangerously high

resulting in severe headaches, shortness of breath, and anxiety requiring immediate attention.” Id.

       On July 20, 2020, Cohen filed a habeas action seeking his release from FCI Otisville,

alleging that the Government had remanded him in violation of his First Amendment rights. See




                                                 4
Cohen v. Barr, 20 Civ. 5614 (AKH). In that action, the United States submitted declarations from

probation and prison officers explaining that the FLM agreement, including the media restriction,

was drafted by the probation officer “without input from the BOP or anyone in the executive

branch,” Pakula Decl. (id. at ECF No. 23) ¶ 113; that Cohen’s “failure to agree to this particular

condition played no role whatsoever in” the relevant BOP official’s “decision to remand him to

secure custody,” Gustin Decl. (id. at ECF No. 24) ¶ 27; and that “Cohen was placed in the

quarantine unit, as are all new inmates, for the protection of the prison’s inmate population,”

Johnson Decl. (id. at ECF No. 25) ¶ 5. On July 23, 2020, U.S. District Judge Alvin K. Hellerstein

preliminarily granted Cohen’s motion for injunctive relief and ordered his transfer from FCI

Otisville to home confinement, concluding that the Government’s “purpose in transferring Cohen

from release on furlough and home confinement back to custody was retaliatory in response to

Cohen desiring to exercise his First Amendment rights to publish a book critical of the President

and to discuss the book on social media.” Id. at ECF No. 30 (Order); Compl. ¶ 28. BOP released

Cohen the next day, on July 24, 2020. 20 Civ. 5614, ECF No. 32 ¶ 1. On July 30, 2020, the parties

stipulated that the injunction would be permanent and to dismiss the matter; Judge Hellerstein so

ordered the stipulation on January 26, 2021. Id. at ECF No. 36.

       Cohen filed the instant FTCA and Bivens action on December 16, 2021, against the United

States, the Individual Moving Defendants, and the former President. ECF No. 1 (“Compl.”). He

alleged that he “was retaliated against by the defendants for the lawful exercise of his First

Amendment right to free speech, in relation to his public comments and upcoming publication of




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          The probation officer also explained that he drafted the media restriction based on a
largely identical restriction contained in a prior agreement he had received from another probation
officer several months earlier. Pakula Decl. ¶¶ 5-13. The Probation Office does not have a general
policy of including such restrictions in FLM agreements.


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a book shortly before the 2020 election, critical of the former President of the United States,

Donald J. Trump.” Compl. ¶ 2.

       Cohen brings six causes of action against the United States under the FTCA: (1) retaliation

for “exercising his right to free speech in falsifying the FLM agreement and remanding him back

to FCI Otisville for 16 days (id. ¶¶ 111-14); (2) false arrest, false imprisonment, abuse of authority

and process “in retaliation for the lawful exercise of his First Amendment rights” (id. ¶¶ 115-21);

(3) negligent failure to protect for breaching a duty to protect “in negligently operating and

managing FCI Otisville” (id. ¶¶ 122-24); (4) negligent infliction of emotional distress “by

retaliat[ing] against [him] by remanding him back to FCI Otisville, placing him in solitary

confinement for approximately 16 days, and significantly increasing his risk of contracting

COVID-19” (id. ¶¶ 125-29); (5) intentional infliction of emotional distress for the same conduct

(id. ¶¶ 130-34); and (6) negligent hiring, retention, training, and supervision with respect to

“negligently operating and managing FCI Otisville” (id. ¶¶ 135-38). Cohen’s seventh cause of

action asserts Bivens claims against the Individual Moving Defendants based on alleged violations

of his First, Fourth, and Eighth Amendment rights relating to his allegedly retaliatory remand to

FCI Otisville and the conditions there. Id. ¶¶ 139-42.

                                      LEGAL STANDARDS

       To survive a motion to dismiss under Rule 12(b)(1), a plaintiff must establish the court’s

jurisdiction through sufficient allegations. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

“The plaintiff bears the burden of proving subject matter jurisdiction by a preponderance of the

evidence.” Aurecchione v. Schoolman Transp. Sys., Inc., 426 F.3d 635, 638 (2d Cir. 2005). “[A]

claim is properly dismissed . . . under Rule 12(b)(1) when the district court lacks the statutory or

constitutional power to adjudicate it.” Morrison v. Nat’l Australia Bank Ltd., 547 F.3d 167, 170

(2d Cir. 2008) (citation omitted). “The United States, as sovereign, is immune from suit save as it


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     consents to be sued . . . , and the terms of its consent to be sued in any court define that court’s

     jurisdiction to entertain the suit.’” United States v. Sherwood, 312 U.S. 584, 586 (1941). “Any

     waiver of the government’s sovereign immunity is to be strictly construed in favor of the

     government.” Long Island Radio Co. v. NLRB, 841 F.2d 474, 477 (2d Cir. 1988).

            In considering a motion to dismiss pursuant to Rule 12(b)(6), a court must accept as true

     the well-pleaded factual allegations set forth in the complaint and draw all reasonable inferences

     in favor of the plaintiff. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). That said,

     “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

     statements, do not suffice.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555). “A court

     can thus begin its analysis of the sufficiency of pleadings by ‘identifying pleadings that, because

     they are no more than conclusions, are not entitled to the assumption of truth.’” Aguilar v.

     Immigration & Customs Enf’t Div., 811 F. Supp. 2d 803, 807 (S.D.N.Y. 2011) (quoting Iqbal, 556

     U.S. at 679). If well-pleaded factual allegations exist, the court must then determine whether they

     plausibly give rise to an entitlement to relief. Iqbal, 556 U.S. at 679.

                                                ARGUMENT

I.      The Court Should Dismiss Cohen’s FTCA Claims

            The FTCA, 28 U.S.C. § 1346(b), grants the federal district courts jurisdiction over a certain

     category of claims for which the United States has waived its sovereign immunity. F.D.I.C. v.

     Meyer, 510 U.S. 471, 477 (1994) (citation omitted). This category includes “claims against the

     United States, for money damages . . . for injury or loss of property, or personal injury or death

     caused by the negligent or wrongful act or omission of any employee of the Government while

     acting within the scope of his office or employment, under circumstances where the United States,

     if a private person, would be liable to the claimant in accordance with the law of the place where

     the act or omission occurred.” 28 U.S.C. § 1346(b)(1). As explained below, Cohen has failed to


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state any legally cognizable FTCA claims, and the Court lacks jurisdiction over some of the claims.

   A. Cohen’s First Amendment Retaliation Claim Is Not Cognizable Under the FTCA

       Cohen’s first cause of action alleging that the Government retaliated against him for

“exercising of his right to free speech” (Compl. ¶¶ 111-14) is based on an alleged First Amendment

constitutional violation.    See, e.g., Bacon v. Phelps, 961 F.3d 533, 542 (2d Cir. 2020).

Constitutional violations are not cognizable under the FTCA.

       To be cognizable under § 1346(b), a claim must allege that “the United States, if a private

person, would be liable to the claimant in accordance with the law of the place where the act or

omission occurred.” 28 U.S.C. § 1346(b)(1). A constitutional tort claim, like Cohen’s, “could not

contain such an allegation.” See Meyer, 510 U.S. at 477-78. Section 1346(b)’s “reference to the

‘law of the place’ means law of the State—the source of substantive liability under the FTCA,”

and “[b]y definition, federal law, not state law, provides the source of liability for a claim alleging

the deprivation of a federal constitutional right.” Id. at 478 (citations omitted).

       For this reason, a plaintiff cannot bring a federal constitutional tort claim, like Cohen’s,

under the FTCA. See id.; Hernandez v. United States, 939 F.3d 191, 205 (2d Cir. 2019) (“The

FTCA ‘has not waived [the Government’s] sovereign immunity with respect to claims that its

employees have committed constitutional torts’ under the federal constitution.” (citation omitted;

alteration in original)); Tigano v. United States, 527 F. Supp. 3d 232, 254 (E.D.N.Y. 2021)

(similar); see also, e.g., Lopez v. United States, 656 F. App’x 957, 966 (11th Cir. 2016) (“claim

of First Amendment retaliation is not cognizable under the FTCA” (citing Meyer, 510 U.S. at 477-

78)). Nor would such a claim be viable under the FTCA if it was based on a violation of the New

York state constitution. See, e.g., Hernandez, 939 F.3d at 205 (“[S]everal district courts in his

circuit have held that plaintiffs cannot assert FTCA claims for violations of the New York




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Constitution. We agree with this conclusion.” (citations omitted)). Accordingly, the Court should

dismiss Cohen’s first cause of action.

   B. Cohen Has Failed to State a Legally Cognizable Claim for False Arrest, False
      Imprisonment, and Abuse of Authority and Process, or Resulting Emotional Distress,
      and the Court Lacks Jurisdiction Over These Claims

          In his second cause of action, Cohen alleges that he was unlawfully arrested and imprisoned

for approximately 16 days by employees of the United States in retaliation for exercise of his First

Amendment rights. Compl. ¶¶ 115-21. Specifically, Cohen alleges that he was remanded to FCI

Otisville in July 2020 from temporary furlough rather than placed on home confinement as

originally planned in retaliation for a book that he was writing that would be critical of the former

President. Id. ¶¶ 2-29, 48-103. The Court should dismiss Cohen’s second cause of action, and the

resulting emotional distress claims asserted in his fourth and fifth causes of action (id. ¶¶ 125-34),

because Cohen has failed to state a claim, and the Court lacks subject matter jurisdiction over these

claims.

          First, Cohen cannot meet the threshold showing required for a false arrest or false

imprisonment claim. To prove the elements of a false arrest or false imprisonment claim under

New York law, a plaintiff must show that: “(1) the defendant intended to confine the plaintiff, (2)

the plaintiff was conscious of the confinement, (3) the plaintiff did not consent to the confinement

and (4) the confinement was not otherwise privileged.” Hernandez, 939 F.3d at 199 (citations and

internal quotation marks omitted). Cohen cannot satisfy these elements because he cannot as a

matter of law allege that his confinement “was not otherwise privileged.” A detention by a federal

officer is privileged if it was proper under federal law. Liranzo v. United States, 690 F.3d 78, 95

(2d Cir. 2012). “For purposes of the privilege element of a false arrest and imprisonment claim,

an act of confinement is privileged if it stems from a lawful arrest supported by probable cause.”




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Hernandez, 939 F.3d at 199 (citation omitted). “In other words, ‘false imprisonment ends once

the victim becomes held pursuant to [legal] process.’” Robinson v. United States, 332 F. Supp. 3d

516, 527 (E.D.N.Y. 2018) (quoting Wallace v. Kato, 549 U.S. 384, 389 (2007); alteration in

Robinson).

       In December 2018, U.S. District Judge William H. Pauley III sentenced Cohen to 36

months of incarceration—a sentence that Cohen began serving at FCI Otisville in May 2019 and

which was to end on November 22, 2021. See Compl. ¶¶ 52-54, 63; 18 Cr. 602, ECF Nos. 29, 39.

Although BOP granted Cohen temporary release on furlough in April 2020, before his planned

transfer to home confinement under the CARES Act (Compl. ¶¶ 66-73), while on furlough Cohen

“[r]emain[ed] in the legal custody of the U.S. Attorney General, in service of a term of

imprisonment.” 28 C.F.R. § 570.38(b)(1). Moreover, although BOP had not yet placed Cohen on

home confinement, individuals placed on home confinement remain within the custody of BOP.

See 18 U.S.C. § 3624(c)(2) (listing “home confinement” as a type of “[p]rerelease custody”); see

also, e.g., Martinez-Brooks v. Easter, 459 F. Supp. 3d 411, 431 (D. Conn. 2020) (individuals

“in home confinement, [] would remain within the ‘custody’ of the BOP”). Given that Cohen was

already in custody serving a term of imprisonment pursuant to the judgment in his criminal case,

his confinement—whether on home confinement or at FCI Otisville—was legally permitted by the

judgment in his criminal case and therefore privileged. Cf. 18 U.S.C. § 3621(b) (BOP “shall

designate the place of the prisoner’s imprisonment,” and this designation “is not reviewable by

any court”). Cohen’s allegations about being remanded to FCI Otisville are essentially complaints

about the conditions of his confinement rather than the fact of his confinement, which are not

recognized under the tort of false imprisonment.

       The district court’s decision in McGowan v. United States, 94 F. Supp. 3d 382 (E.D.N.Y.




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2015), is instructive on this issue. There, the plaintiff alleged that he was falsely arrested and

imprisoned when BOP remanded him from a halfway house to the Metropolitan Detention Center

(“MDC”) in retaliation for exercising his First Amendment right to publish an article on the

internet with his byline. Id. at 384-85. In dismissing the plaintiff’s claim, the district court

concluded: “Plaintiff’s confinement was uncategorically privileged because he was a convicted

felon serving his sentence. . . . His custody was the product of a judgment of conviction of a United

States District Court that remanded him to the BOP.” Id. at 390. The court rejected as “facetious”

the plaintiff’s argument that he had a viable claim for false imprisonment because he had more

freedom at the halfway house than at MDC and concluded that the plaintiff was actually

complaining about his conditions of confinement rather than the fact of confinement—a complaint

that was not recognized under the tort of false imprisonment. Id. at 391. The court observed: “If

a private or state actor is entitled to hold a prisoner, liability for false imprisonment never rises or

falls based on the conditions under which he is held. . . . The inquiry ends, at least for purposes of

the tort of false imprisonment, upon the finding that some form—any form—of confinement was

legally permitted.” Id. at 391;4 see also Akran v. United States, 997 F. Supp. 2d 197, 204-06

(E.D.N.Y. 2014) (dismissing false imprisonment clam as privileged), aff’d, 581 F. App’x 46 (2d

Cir. 2014); Ojo v. United States, No. 16 Civ. 4112, 2020 WL 828076, at *10-11 (E.D.N.Y. Feb.

20, 2020) (similar). Thus, Cohen cannot state a claim for false arrest or imprisonment given that




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         The Second Circuit affirmed the district court’s decision in McGowan. See McGowan v.
United States, 825 F.3d 118 (2d Cir. 2016). However, the panel determined that plaintiff had
abandoned his challenge to the district court’s conclusion “as it applies to ordinary claims of false
imprisonment.” Id. at 126 n.4. Instead, the plaintiff argued on appeal that he should be able to
pursue a claim under the FTCA for “wrongful confinement,” a “species of false imprisonment”—
an argument that the Second Circuit rejected on the basis that there was no private analogue as
required by § 1346(b)(1). See id. at 126-27.


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his confinement was legally permitted throughout the duration of his sentence.

        For similar reasons, Cohen has also failed to state a claim for abuse of process or authority.5

To prove abuse of process under New York law, a plaintiff must show that the defendant “(1)

employs regularly issued legal process to compel performance or forbearance of some act (2) with

intent to do harm without excuse of justification, and (3) in order to obtain a collateral objective

that is outside the legitimate ends of the process.” Hernandez, 939 F.3d at 204 (citation and

internal quotation marks omitted); Bd. of Ed. v. Farmingdale Classroom Tchrs. Ass’n, Inc., 38

N.Y.2d 397, 403 (1975) (similar). “[L]egal process means that a court issued the process.”

Fernandez v. City of New York, 457 F. Supp. 3d 364, 388 (S.D.N.Y. 2020) (quoting Cook v.

Sheldon, 41 F .3d 73, 80 (2d Cir. 1994)). Cohen cannot meet this standard. As noted, Cohen was

already serving a term of imprisonment as part of a court-ordered sentence. As such, the

Government did not employ any legal process in remanding Cohen to FCI Otisville as BOP had

sole discretion over the place of Cohen’s confinement. See 18 U.S.C. § 3621(b). Therefore, Cohen

has also failed to state a claim for abuse of process.

        Cohen’s emotional distress claims relating to alleged false arrest and imprisonment and

abuse of process are also not cognizable. Given that the conduct of which Cohen complains with

respect to intentional infliction of emotional distress is encompassed within Cohen’s claims for

false arrest and imprisonment and abuse of process, the Court should dismiss Cohen’s intentional

infliction of emotion distress claim. See, e.g., Moore v. City of New York, 219 F. Supp. 2d 335,

339 (E.D.N.Y. 2002) (“No intentional infliction of emotional distress claim will lie where the

conduct underlying the claim falls within the ambit of traditional tort liability.” (citation omitted)).




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        Given that the law does not appear to recognize a separate claim for abuse of authority,
the Government will hereinafter refer to the claim as one for abuse of process.


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Similarly, Cohen cannot recover under negligence principles for the conduct he alleges. See, e.g.,

Rheingold v. Harrison Town Police Dep’t, 568 F. Supp. 2d 384, 395 n.3 (S.D.N.Y. 2008) (“To the

extent that plaintiff is alleging an alternate theory of liability for false arrest, imprisonment and

prosecution sounding in negligence, New York does not provide a cause of action under such a

theory.”).

       Finally, even had Cohen otherwise stated a claim for false arrest and imprisonment and

abuse of process, his claim fails—as do his incidental emotional distress claims (Compl. ¶¶ 125-

34)—because Cohen’s allegations do not satisfy the private analogue requirement of the FTCA.

See 28 U.S.C. § 1346(b)(1). “[F]or liability to arise under the FTCA, a plaintiff’s cause of action

must be comparable to a cause of action against a private citizen recognized in the jurisdiction

where the tort occurred.” McGowan, 825 F.3d at 125 (citations and internal quotation marks

omitted).    “This ‘private analogue’ requirement asks whether a private person would be

responsible for similar negligence under the laws of the State where the acts occurred.” Id.

(citations and internal quotation marks omitted). Here, there is no private tort analogue, as required

to state an FTCA claim, see 28 U.S.C. § 1346(b)(1), for BOP’s use of its discretion in transferring

a prisoner to a different place of confinement as private persons do not have the discretion to decide

whether an individual should be detained on home confinement or in prison. See, e.g., McGowan,

825 F.3d at 126-27 (no private analogue for tort of wrongful confinement where plaintiff

complained of being detained in prison rather than halfway house); see also, e.g., Akutowicz v.

United States, 859 F.2d 1122, 1125 (2d Cir. 1988) (no private analogue for wrongful revocation

of citizenship); Buzzanca v. District of Columbia, 523 F. Supp. 3d 64, 69-72 (D.D.C. 2021) (no

private analogue for negligent and intentional infliction of emotional distress claims based on

wrongful confinement due to BOP’s allegedly incorrect calculation of a release date); see also,




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e.g., Carter v. United States, 494 F. App’x 148, 149 (2d Cir. 2012) (district court erred in

concluding claim alleging emotional distress resulting from attempt to execute arrest warrant based

on negligently provided information had private analogue); Saleh v. United States, No. 12 Civ.

4598, 2013 WL 5439140, at *9-10 (S.D.N.Y. Sept. 27, 2013) (no private analogue for USCIS’s

denial of a green card or FBI’s pressure on plaintiff to become an informant), aff’d, 580 F. App’x

22 (2d Cir. 2014).6 Thus, the Court does not have jurisdiction over these claims due to the lack of

a private analogue. See, e.g., McGowan, 825 F.3d at 121, 127-28.

       Accordingly, the Court should dismiss Cohen’s second, fourth, and fifth causes of action.

   C. The FTCA’s Discretionary Function Exception Bars Cohen’s Claims for Failure to
      Protect, Negligent Infliction of Emotional Distress, and Negligent Hiring, Retention,
      Training, and Supervision

       Cohen’s third cause of action—for negligent failure to protect—alleges that the

Government breached a duty to protect him “in negligently operating and managing FCI Otisville.”

Compl. ¶¶ 122-24. Cohen’s fourth cause of action for negligent infliction of emotional distress

alleges distress based on his remand to FCI Otisville and the 16 days that he allegedly spent in

“solitary confinement,” which Cohen claims significantly increased his risk of contracting

COVID-19. Id. ¶¶ 125-134. Specifically, with respect to both causes of action, Cohen alleges that

for the 16 days he spent at FCI Otisville in July 2020 following his remand, his cell was poorly

ventilated and hot, and he was only permitted to leave it for 30 minutes a day. Id. ¶¶ 99-102.7 In



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         Liranzo, 690 F.3d at 94-97, which held that illegal detention by ICE could be actionable
under the FTCA, is not to the contrary. Liranzo involved a standard claim of false imprisonment
in which the plaintiff alleged he should not have been placed in any type of custody. Id. at 82-84.
By contrast, here, Cohen merely alleges that he should have been placed in a different location of
confinement, so there is no analogous private conduct.
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          Although Cohen alleges that prior to his transfer to furlough in May 2020, BOP kept him
in solitary confinement at FCI Otisville for 35 days, Cohen does not appear to bring any FTCA
claims relating to these factual allegations, and he even alleges that his “incarceration, prior to his


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his sixth cause of action, Cohen vaguely alleges that FCI Otisville negligently hired, retained,

trained, and supervised its employees. Id. ¶¶ 135-38. Cohen’s third, fourth, and sixth causes of

action are barred by the discretionary function exception to the FTCA.

       The FTCA exempts from its waiver of sovereign immunity any claim that is “based upon

the exercise or performance or the failure to exercise or perform a discretionary function or duty

on the part of a federal agency or an employee of the Government, whether or not the discretion

involved be abused.” 28 U.S.C. § 2680(a). A court lacks subject matter jurisdiction over any

claim falling within the discretionary function exception. See Fazi v. United States, 935 F.2d 535,

537 (2d Cir. 1991). “The discretionary function exception . . . marks the boundary between

Congress’ willingness to impose tort liability upon the United States and its desire to protect certain

governmental activities from exposure to suit by private individuals.” United States v. S.A.

Empresa de Viacao Aerea Rio Grandense, 467 U.S. 797, 808 (1984).

       A claim falls within the discretionary function exception if it satisfies a two-part test: (1)

the challenged conduct “involve[s] an element of judgment or choice” in that it is “not compelled

by statute or regulation”; and (2) the “choice in question” is “grounded in considerations of public

policy or susceptible to policy analysis.” Coulthurst v. United States, 214 F.3d 106, 109 (2d Cir.

2000) (internal quotation marks omitted). Cohen’s claims relating to prison operation and

management, including placement of prisoners, cell conditions, and hiring, retention, training, and

supervision, fall within the discretionary function exception’s ambit.




unlawful remand, was uneventful.” Compl. ¶¶ 62, 71, 112, 119, 126, 131. However, to the extent
Cohen is attempting to state any claim with respect to the 35 days he allegedly spent in “solitary
confinement” in April to May 2020, such claims are also barred by the discretionary function
exception for the reasons described in this section.


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       First, BOP’s prison operation and management is not compelled by statute or regulation.

Although statutes, regulations, and guidelines guide operation and management of BOP’s

facilities, they do so in a manner that leaves BOP officials with “an element of judgment or

choice.” United States v. Gaubert, 499 U.S. 315, 322 (1991) (quotation marks omitted); see also,

e.g., Berkovitz by Berkovitz v. United States, 486 U.S. 531, 546 (1988) (where policies “allow

room for implementing officials to make independent policy judgments, the discretionary function

exception protects the acts taken by those officials in the exercise of this discretion”).

       For example, 18 U.S.C. § 4042(a) gives BOP, under the direction of the Attorney General,

“charge of the management and regulation of all Federal penal and correctional institutions” and

tasks BOP to “provide suitable quarters and provide for the safekeeping, care and subsistence” of

federal inmates, as well as to “provide for the[ir] protection.” Such broad statutory language leaves

much room for the exercise of discretion by implementing officials. See, e.g., Matthias v. United

States, 475 F. Supp. 3d 125, 141 (E.D.N.Y. 2020) (where regulations “do not lay out specific

means” for accomplishing an objective, but instead leave implementation “up to the discretion” of

an entity, the entity’s actions are not compelled by regulation). Similarly, 28 C.F.R. § 541.31

applies to conditions in the special housing unit (“SHU”) and requires “healthy and humane

treatment,” including living quarters that are “well-ventilated, adequately lighted, appropriately

heated, and maintained in a sanitary condition.” However, because the regulation does not specify

the meaning of these terms, it leaves much discretion to BOP.8 Cf. Sabow v. United States, 93

F.3d 1445, 1453 (9th Cir. 1996) (as amended) (“[T]he presence of a few, isolated provisions cast

in mandatory language does not transform an otherwise suggestive set of guidelines into binding




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        In any event, Cohen remained in the SHU for less than 24 hours. See 20 Civ. 5614,
Johnson Decl. (ECF No. 25) ¶ 5; Compl. ¶¶ 99-100.


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agency regulations.” (citation omitted)); Smith v. U.S. Coast Guard, 220 F. Supp. 2d 275, 281

(S.D.N.Y. 2002) (applying the discretionary function exception where regulatory standards were

“highly detailed” but did not require ship inspectors “to take specific steps” and did “not specify

the means by which the Coast Guard inspector [was] to determine compliance”). Further, 18

U.S.C. § 4081, which pertains to the classification and treatment of prisoners, provides BOP with

broad discretion regarding such classification and treatment. Additionally, 18 U.S.C. § 3621 gives

BOP significant discretion regarding the placement of prisoners and makes BOP’s decisions

regarding designation of a place of imprisonment unreviewable by any court.

       Finally, during the relevant time period, BOP had modified operation protocols in place

due to the COVID-19 pandemic, including adopting quarantine and isolation procedures (such as

on intake and release), restricting movement of individuals within and between facilities,

staggering meals and recreation times to limit large gatherings, suspending non-essential visits,

requiring screening of individuals entering or residing in a BOP facility, providing face coverings,

and increasing hygiene and sanitation.          See Johnson Decl. (ECF No. 25) ¶¶ 4-7;

https://www.bop.gov/coronavirus/overview.jsp. Pursuant to these protocols, in July 2020, BOP

generally quarantined individuals entering incarceration for approximately 14 days, during which

time it significantly restricted their movement; at the end of this period, if the individual tested

negative, he would enter the general population. See Johnson Decl. ¶ 4. These COVID-19

protocols left BOP with elements of discretion, particularly given the fluid nature of the pandemic.

See, e.g., United States v. Wilson, No. 15 Cr. 256, 2021 WL 5360084, at *1 (W.D. Pa. Nov. 17,

2021) (BOP’s COVID-19 protocols “are within the discretion of BOP and their determination of

relative risk levels given the changing nature of the pandemic and the availability of vaccines”).

       For this reason, courts have typically held that BOP’s operation and management of its




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facilities, including its placement of prisoners and the decisions it makes regarding hiring,

retention, training, and supervision, are not “compelled by statute or regulation.” Coulthurst, 214

F.3d at 109; see also, e.g., Cohen v. United States, 151 F.3d 1338, 1342 (11th Cir. 1998) (“even

if § 4042 imposes on the BOP a general duty of care to safeguard prisoners, the BOP retains

sufficient   discretion   in   the   means   it   may   use     to   fulfill   that   duty   to   trigger

the discretionary function exception” and §§ 3621 and 4081 “do not mandate a specific, non-

discretionary course of conduct for the BOP to follow,” but “[i]nstead, they give the BOP ample

room for judgment”); Sebolt v. United States, 769 F. App’x 381, 382-83 (7th Cir. 2019)

(discretionary function exception applied to placement of inmate in SHU); Merz v. United States,

532 F. App’x 677, 678 (9th Cir. 2013) (discretionary function exception applied to decisions

regarding where to place incarcerated individual and the manner and timing of provision of

clothing, bedding, and toiletries ); Santiago v. United States, No. 21 Civ. 436, 2022 WL 790805,

at *2-3 (W.D. Va. Mar. 14, 2022) (“BOP’s handling of COVID-19 and the protective measures it

put into place involved an element of judgment or choice,” and claims relating to BOP’s COVID-

19 procedures were barred by discretionary function exception); Ojo v. United States, No. 16 Civ.

4112, 2019 WL 3852391, at *8-9 (E.D.N.Y. Aug. 15, 2019) (dismissing negligence claims,

including relating to training and supervision, and emotional distress claims arising from plaintiff’s

placement in SHU as barred by discretionary function exception), report and recommendation

adopted, 2019 WL 4602823 (E.D.N.Y. Sept. 23, 2019); Saint-Guillen v. United States, 657 F.

Supp. 2d 376, 387 (E.D.N.Y. 2009) (“[F]ederal courts have found that such hiring, training, and

supervision decisions generally fall within the exception.”).

       Second, decisions regarding prison management and operations—including placement and

housing of prisoners and hiring, retention, training, and supervision matters—are grounded in




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considerations of public policy and susceptible to policy analysis. As the Supreme Court has

recognized, “[p]rison administrators . . . should be accorded wide-ranging deference in the

adoption and execution of policies and practices that in their judgment are needed to preserve

internal order and discipline and to maintain institutional security.” Whitley v. Albers, 475 U.S.

312, 321-22 (1986); see also, e.g., Dykstra v. U.S. Bureau of Prisons, 140 F.3d 791, 796 (8th Cir.

1998) (“Prison officials supervise inmates based upon security levels, available resources,

classification of inmates, and other factors. These factors upon which prison officials base such

decisions are inherently grounded in social, political, and economic policy.”); Bailor v. Salvation

Army, 51 F.3d 678, 685 (7th Cir. 1995) (BOP’s “approval of transfer of inmates to halfway houses

is entwined with the social considerations of integrating prisoners into society,” and “[a] pre-

release program, like placement in a halfway house, also alleviates the cost of keeping inmates in

prison”); Weissich v. United States, 4 F.3d 810, 814 (9th Cir. 1993) (supervision of probationer

subject to policy considerations).

       Indeed, in the context of the COVID-19 pandemic, prison management and operations

require a particularly delicate balancing of prisoner and staff safety with available resources to

implement emergency medical guidance in a programmatic way at each BOP facility. See, e.g.,

Santiago, 2022 WL 790805, at *3 (“[T]he development and implementation of safety protocols in

federal prisons is unquestionably based on considerations of public policy. . . . The BOP must

balance its duty to protect inmates from COVID-19 with its duty to protect inmates from each

other, to safeguard staff, and to protect the public.”); see also, e.g., Lipsey v. United States, 879

F.3d 249, 255 (7th Cir. 2018) (“Inherent in such placement and transfer decisions are

considerations of public policy such as concerns with security, cost, overcrowding, medical care,

and the suitability of each facility to meet the needs of the prisoner.”); Dugan v. Warden, FCC




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      Coleman-USP I, 673 F. App’x 940, 943 (11th Cir. 2016) (“[I]n the case of a prison lockdown,

      prison staff must necessarily balance competing policy concerns, including inmate and staff safety,

      efficient supervision of inmates, and allocation of resources.”).

             Finally, matters of hiring, retention, training, and supervision involve the exercise of

      political, social, and economic policy judgment because they include consideration of such factors

      as budgetary constraints, public safety, economic conditions, individual backgrounds, office

      diversity, the complexity of the task involved, the degree of harm a wayward employee might

      cause, and the extent to which employees have deviated from accepted norms in the past. Burkhart

      v. Wash. Metro. Area Transit Auth., 112 F.3d 1207, 1217 (D.C. Cir. 1997).

             Accordingly, Cohen’s claims relating to any alleged negligent remand to FCI Otisville, his

      cell placement at FCI Otisville, and alleged negligent hiring, retention, training, and supervision

      are barred by the discretionary function exception to the FTCA.

II.      The Court Should Dismiss Cohen’s Bivens Claims

             Cohen’s complaint also asserts a cause of action against the Individual Moving Defendants

      pursuant to Bivens based on alleged violations of his First, Fourth, and Eighth Amendment rights.

      See Compl. ¶¶ 139-42 (seventh cause of action). Specifically, Cohen alleges a violation of the

      First Amendment based on his remand to FCI Otisville allegedly in retaliation for writing a book

      critical of the former President (id. ¶¶ 72–99); a violation of the Fourth Amendment based on his

      remand to FCI Otisville (id. ¶¶ 73-98); and a violation of the Eighth Amendment based on his

      conditions of confinement during his 16 days at FCI Otisville following remand (id. ¶¶ 99-102).

      The Court should dismiss Cohen’s Bivens cause of action because a Bivens remedy is not available

      for the constitutional violations he alleges. Further, even if a Bivens remedy were available, the

      Individual Moving Defendants would be entitled to qualified immunity.




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   A. Legal Framework

       In Bivens, the Supreme Court for the first time recognized a damages remedy to

compensate an individual injured by federal officers who violated his constitutional rights—there,

a man who alleged that he was unconstitutionally searched and arrested in his home by the Federal

Bureau of Narcotics in violation of the Fourth Amendment’s prohibition against unreasonable

search and seizure. See Bivens, 403 U.S. at 389; see also Iqbal, 556 U.S. at 675. Since Bivens,

the Supreme Court has implied a constitutional damages remedy on only two other occasions: to

redress an alleged Fifth Amendment equal protection violation by a United States Congressman

who admitted to terminating an employee because she was a woman, see Davis v. Passman, 442

U.S. 228, 230 (1979); and to redress an alleged Eighth Amendment violation by prison officials

whose alleged deliberate indifference to an inmate’s asthma led to his death, see Carlson v. Green,

446 U.S. 14, 16-18 (1980). See also Abbasi, 137 S. Ct. at 1855 (“These three cases—Bivens,

Davis, and Carlson—represent the only instances in which the Court has approved of an implied

damages remedy under the Constitution itself.”).

       In the years since these cases were decided, the Supreme Court’s “approach to recognizing

implied causes of action” has “notabl[y] change[d],” largely in recognition of the separation of

powers concerns inherent in a court “creat[ing] and enforc[ing] a cause of action for damages

against federal officials in order to remedy a constitutional violation.” Id. at 1856-57. “In most

instances, the Court’s precedents now instruct, [Congress] is in the better position to consider if

the public interest would be served by imposing a new substantive legal liability.” Id. at 1857

(citations and internal quotation marks omitted). Accordingly, as the Court has made clear on

multiple occasions, “expanding the Bivens remedy is now a ‘disfavored’ judicial activity.” Id. at

1857 (quoting Iqbal, 556 U.S. at 675).




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        To safeguard separation of powers principles, the Supreme Court in Abbasi set forth a

rigorous two-part test for determining whether a Bivens remedy should be implied in a given case.

Under this test, a court must first consider whether a claim “presents a new Bivens context.” Id.

at 1859. This step requires a court to ask whether the case “is different in a meaningful way from

previous Bivens cases decided by [the Supreme] Court.” Id. Meaningful differences include, but

are not limited to,

                the rank of the officers involved; the constitutional right at issue; the
                generality or specificity of the official action; the extent of judicial
                guidance as to how an officer should respond to the problem or
                emergency to be confronted; the statutory or other legal mandate
                under which the officer was operating; the risk of disruptive
                intrusion by the Judiciary into the functioning of other branches; or
                the presence of potential special factors that previous Bivens cases
                did not consider.

Id. at 1860. “[T]he new-context inquiry is easily satisfied” by even “small” but “meaningful”

differences between the claim at issue and the Supreme Court’s previously approved Bivens

claims. See id. at 1865. Indeed, “even a modest extension” of the circumstances presented in

Bivens, Davis, or Carlson “is still an extension.” Id. at 1864.

        If a case presents a new context, a court must then evaluate whether “there are ‘special

factors counselling hesitation in the absence of affirmative action by Congress.’” Id. at 1857

(quoting Carlson, 446 U.S. at 18). If there are such special factors, a Bivens remedy will not be

available. Id. This step requires a court to consider if there is “an alternative remedial structure

present in a certain case” or other special factors indicating that the judiciary is not “well suited,

absent congressional action or instruction, to consider and weigh the costs and benefits of allowing

a damages action to proceed.” Id. at 1858. In other words, “if there are sound reasons to think

Congress might doubt the efficacy or necessity of a damages remedy as part of the system for

enforcing the law and correcting a wrong,” the Court “must refrain from creating the remedy in



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order to respect the role of Congress in determining the nature and extent of federal-court

jurisdiction under Article III.” Id. As the Second Circuit has held, the threshold for whether a

factor counsels hesitation “is remarkably low”—“[h]esitation’ is ‘counseled’ whenever thoughtful

discretion would pause even to consider.” Arar v. Ashcroft, 585 F.3d 559, 574 (2d Cir. 2009).

       Applying this framework to the constitutional claims asserted in Cohen’s complaint

demonstrates that, in each instance, a Bivens remedy is not available to Cohen.

   B. Cohen’s Claims Present a New Bivens Context

       Because Cohen’s First, Fourth, and Eighth Amendment claims differ in meaningful ways

from the claims presented in Bivens, Davis, and Carlson, the Court should conclude that Cohen’s

claims present a new context.

       Cohen’s First Amendment retaliation claim indisputably arises in a new context. As

discussed above, Bivens, Davis, and Carlson “represent the only instances in which the Court has

approved of an implied damages remedy under the Constitution itself,” Abbasi, 137 S. Ct. at 1855,

and in none of these cases did the Supreme Court recognize a remedy for a First Amendment

Bivens claim. Indeed, as the Supreme Court has often reiterated, it has never recognized a First

Amendment Bivens claim in any context. See, e.g., Reichle v. Howards, 566 U.S. 658, 663 n.4

(2012) (“We have never held that Bivens extends to First Amendment claims.”). Likewise, the

Second Circuit has never “recognized a Bivens action sounding in the First Amendment.” Zherka

v. Ryan, 52 F. Supp. 3d 571, 579 (S.D.N.Y. 2014). For this reason alone, Cohen’s First

Amendment claim necessarily presents a new context.

       Cohen’s Fourth and Eighth Amendment claims similarly arise in a new context. Though

the Supreme Court previously recognized a damages remedy for asserted violations of the Fourth

and Eighth Amendments in Bivens and Carlson respectively, a “claim may arise in a new context




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even if it is based on the same constitutional provision as a claim in a case in which a damages

remedy was previously recognized.” Hernandez v. Mesa, 140 S. Ct. 735, 743 (2020). As stated

in Hernandez, “once we look beyond the constitutional provisions invoked in Bivens, [Carlson],

and the present case, it is glaringly obvious that [the plaintiff’s] claims involve a new context, i.e.,

one that is meaningfully different.” Id. The same is true here.

       With respect to Cohen’s asserted Fourth Amendment violation, multiple factors discussed

by the Supreme Court in Abbasi render the context presented here meaningfully different from that

presented in Bivens. Bivens involved an individual who alleged that agents of the Federal Bureau

of Narcotics entered his apartment, arrested him in front of his family, threatened to arrest his

family too, and searched his apartment from top to bottom, all without a warrant or probable cause

to arrest. See Bivens, 403 U.S. at 389. By contrast, Cohen—who was already in federal custody

serving his criminal sentence—bases his Fourth Amendment claim on his allegations that BOP

seized and remanded him from furlough to FCI Otisville rather than allowing him to serve the

remainder of his sentence on home confinement after he objected to the terms of the FLM

agreement. See Compl. ¶¶ 73–98.

       Further, unlike the agents in Bivens, the Government officials here were not performing

ordinary law-enforcement functions; rather, they were implementing a BOP remand order to return

to FCI Otisville a convicted federal prisoner already in custody. As such, the Government officials

were performing a very “specific” official action, distinct from the “general” law-enforcement

functions performed by the agents in Bivens, and they were operating under an entirely different

“statutory or other legal mandate” than the agents in Bivens. See Abbasi, 137 S. Ct. at 1860; see

also Morgan v. Shivers, No. 14 Civ. 7921, 2018 WL 618451, at *5 (S.D.N.Y. Jan. 29, 2018)

(finding meaningful difference from Bivens where an alleged unconstitutional search was




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conducted by corrections officers, not narcotics agents, and took place in the context of a prison

because “the Supreme Court has long distinguished its analysis of the Fourth Amendment when

raised in the context of a prison facility”).

        Moreover, the “specific” action they performed—remanding Cohen to federal prison rather

than transitioning him from furlough to home confinement—implemented a BOP decision

regarding where Cohen should be housed. Congress has delegated broad authority to BOP to make

decisions regarding inmate housing—even going as far as to provide that BOP’s “designation of a

place of imprisonment . . . is not reviewable by any court.” See, e.g., 18 U.S.C. §§ 3621(b),

4042(a). That Congress has so entrusted the BOP—an agency situated within the Executive

Branch—with day-to-day prison management increases “the risk of disruptive intrusion by the

Judiciary into the functioning of other branches” if a court were to recognize a Bivens remedy. See

Abbasi, 137 S. Ct. at 1860. In short, Cohen’s allegations—none of which implicate the search and

seizure, without warrant or probable cause, of an individual at liberty by officers performing

ordinary law-enforcement functions—are a far cry from the facts alleged in Bivens, and the

differences outlined above “easily satisf[y]” the new context inquiry with respect to Cohen’s

Fourth Amendment claim. Id. at 1865.

        Cohen’s Eighth Amendment claim is likewise meaningfully different from that presented

in Carlson. Carlson involved a deliberate indifference claim arising under the Eighth Amendment

asserted against prison officials for allegedly providing grossly inadequate medical care to an

individual with a severe and chronic asthma condition—including delaying providing the

individual with medical care and then providing medical care that affirmatively made the

individual’s condition worse—resulting in the individual’s death. See Carlson, 446 U.S. at 16 &

n.1. By contrast, Cohen challenges the conditions of his confinement, alleging that he was placed




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in solitary confinement for 16 days upon his return to FCI Otisville, during which time he spent

23.5 hours of the day in a poorly ventilated twelve-by-eight-foot cell that lacked air conditioning

and had temperatures in excess of 100 degrees. See Compl. ¶¶ 100-02. He alleges he received

“immediate medical attention” for his resulting high blood pressure, headaches, shortness of

breath, and anxiety. Id. ¶ 102.

       Cohen’s challenge to the general conditions of his confinement is different in kind than the

deliberate indifference claim raised in Carlson. See Abbasi, 137 S. Ct. at 1860 (noting that

differences in “the generality or specificity of the official action” may be meaningful). Indeed, in

Abbasi itself, the Court rejected an attempt by the plaintiffs to bring a conditions of confinement

challenge under Bivens. See id. at 1858-63. Unsurprisingly, then, numerous courts within this

Circuit and outside of it have found this distinction meaningful following Abbasi and have thus

concluded that non-medical conditions of confinement claims present a new context not presented

in Carlson. See, e.g., Rodriguez v. Easter, No. 20 Civ. 1872, 2022 WL 356478, at *7 (D. Conn.

Feb. 7, 2022) (concluding that non-medical care Eighth Amendment claim presented new context

because “[n]o Supreme Court decision has extended Bivens to encompass the conditions of

confinement claims asserted by Plaintiff”); Crespo v. Hurwitz, No. 17 Civ. 6329, 2020 WL

7021658, at *5 (E.D.N.Y. Nov. 30, 2020) (same); White v. Hess, No. 14 Civ. 3339, 2020 WL

1536379, at *7 (E.D.N.Y. Mar. 31, 2020) (same); Gonzalez v. Hasty, 269 F. Supp. 3d 45, 64

(E.D.N.Y. 2017) (same), aff’d on other grounds, 755 F. App’x 67 (2d Cir. 2018); see also Schwarz

v. Meinberg, 761 F. App’x 732, 734 (9th Cir. 2019) (“Schwarz’s Eighth Amendment claim

regarding unsanitary cell conditions presents a new Bivens context because Schwarz does not

allege a failure to treat a serious medical condition, which was the issue in Carlson.”).

       Moreover, Cohen’s Eighth Amendment claim is premised primarily on BOP’s housing




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decision—namely, the decision to quarantine Cohen for 16 days upon his arrival to FCI Otisville—

and one that was made against the backdrop of the global COVID-19 pandemic. Thus, not only is

the same increased risk “of disruptive intrusion by the Judiciary” into the day-to-day management

of federal prisons present here as it was with respect to his Fourth Amendment claim, but an

additional “special factor[] that previous Bivens cases did not consider”—the COVID-19 pandemic

and the concomitant need to adjust prison policies in response to the threat posed by the

pandemic—is also present. Abbasi, 137 S. Ct. at 1860. Consideration of the Abbasi factors thus

demonstrates that the differences between Cohen’s Eighth Amendment claim and the claim

previously approved by the Court in Carlson are many and meaningful. Thus, “the new-context

inquiry is easily satisfied” here. Id. at 1865.

   C. Special Factors Counsel Hesitation

       Because Cohen’s claims present a new context, the Court must consider whether special

factors counsel against implying a Bivens remedy in the face of congressional silence. Abbasi,

137 S. Ct. at 1857. In doing so, courts consider the existence of alternative remedial structures, as

well as other indications that “Congress might doubt the efficacy or necessity of a damages remedy

as part of the system for enforcing the law and correcting a wrong.” Id. at 1857-58. The threshold

for declining to imply a remedy is “remarkably low.” Arar, 585 F.3d at 574. Here, that threshold

is easily met as to each of Cohen’s claims.

       1. Alternative Remedial Structures Counsel Against Implying a Bivens Remedy

       At all times relevant to the allegations in the complaint, Cohen remained in the custody of

the Government under the supervision of BOP.            Accordingly, with respect to all of the

constitutional claims alleged in the complaint, the BOP’s Administrative Remedy Program—a

program created by congressional action, see Abbasi, 137 S. Ct. at 1858—provided an alternative

remedial structure for Cohen “to seek formal review of an issue relating to any aspect of [his] own


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confinement.” 28 C.F.R. § 542.10(a). In the wake of Abbasi, numerous courts have concluded

that the Administrative Remedy Program is an alternative remedial structure that counsels against

implying a Bivens remedy. See, e.g., Rodriguez, 2022 WL 356478, at *6-7 (noting that the

existence of the BOP administrative grievance process counseled against extending Bivens to

prisoner’s First Amendment retaliation and Eighth Amendment non-medical conditions of

confinement claims); Sabir v. Williams, No. 20 Civ. 0008, 2020 WL 3489522, at *4 (D. Conn.

June 26, 2020) (same with respect to prisoner’s First Amendment retaliation claim); Widi v.

Hudson, No. 16 Civ. 1042, 2019 WL 3491250, at *4 (N.D.N.Y. Aug. 1, 2019) (same); Cannenier

v. Skipper-Scott, No. 18 Civ. 2383, 2019 WL 764795, at *5 (S.D.N.Y. Feb. 20, 2019) (same with

respect to prisoner’s claim regarding improper placement in SHU). Though an inmate cannot

recover damages through the Administrative Remedy Program, an alternative process need only

provide a “means to be heard” and “some procedure to defend and make good on [the inmate’s]

position” to counsel hesitation; it need not provide complete relief. See Wilkie v. Robbins, 551

U.S. 537, 552 (2007).

         The writ of habeas corpus provided another alternative remedial structure on which Cohen

could rely—and in fact did rely with success. As a result of his filing of a habeas petition, Judge

Hellerstein ordered Cohen’s transfer to home confinement for the remainder of his sentence, see

No. 20 Civ. 5614, ECF Nos. 30, 36. Numerous courts have also found that where, as here, the writ

is available, a Bivens remedy should not be implied. See, e.g., Rodriguez, 2022 WL 356478, at

*6-7 (noting that the existence of the petition for writ of habeas corpus counseled against extending

Bivens to plaintiff’s First Amendment retaliation and Eighth Amendment non-medical conditions

of confinement claims); Wiley v. Fernandez, No. 19 Civ. 652, 2021 WL 6550821, at *5 (N.D.N.Y.

Nov. 24, 2021) (noting same with respect to plaintiff’s First Amendment retaliation claim), report




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and recommendation adopted, 2022 WL 168965 (N.D.N.Y. Jan. 19, 2022); Sabir, 2020 WL

3489522, at *4 (same); Silva v. Canarozzi, No. 18 Civ. 1771, 2019 WL 1596346, at *3 (D. Conn.

Apr. 15, 2019) (same); Widi, 2019 WL 3491250, at *4 (same); Cannenier, 2019 WL 764795, at

*5 (same with respect to prisoner’s claim regarding improper placement in SHU); see also Abbasi,

137 S. Ct. at 1862-63 (noting that respondents “might be able to challenge their confinement

conditions via a petition for a writ of habeas corpus”).

       The existence of these alternative remedial structures alone suffices to limit the power of

the Court to infer new Bivens causes of action under the First, Fourth, and Eighth Amendments.

See Abbasi, 137 S. Ct. at 1858 (“[I]f there is an alternative remedial structure present in a certain

case, that alone may limit the power of the Judiciary to infer a new Bivens cause of action.”).

Accordingly, based only on this special factor, the Court should find that the “remarkably low”

threshold for declining to imply a remedy has been met and conclude that Cohen lacks a Bivens

remedy for the constitutional violations alleged in the Complaint. See Arar, 585 F.3d at 574.

   2. Other Special Factors Counsel Against Implying a Bivens Remedy

       Several additional special factors also counsel hesitation here.        First, Congress has

legislated extensively in the arena of prison administration, including passing the Prison Litigation

Reform Act (“PLRA”) in 1995, but it has never “provide[d] for a standalone damages remedy

against federal jailers.” Abbasi, 137 S. Ct. at 1865. The Supreme Court has intimated, and several

courts in this Circuit have agreed, that Congress’s silence in this regard should counsel hesitation

because it “suggests Congress chose not to extend the Carlson damages remedy to cases involving

other types of prisoner mistreatment.” Id.; see also, e.g., Rodriguez, 2022 WL 356478, at *6-7

(concluding that the PLRA’s failure to include damages remedy counseled hesitation with respect

to First Amendment retaliation and Eighth Amendment non-medical conditions of confinement

claims); Crespo, 2020 WL 7021658, at *6 (same with respect to Eighth Amendment non-medical


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conditions of confinement claim); Oneil v. Rodriguez, No. 18 Civ. 3287, 2020 WL 5820548, at *4

(E.D.N.Y. Sept. 30, 2020) (same with respect to First Amendment retaliation claim); Sabir, 2020

WL 3489522, at *4 (same); White, 2020 WL 1536379, at *7 (same with respect to non-medical

conditions of confinement claim); Gonzalez, 269 F. Supp. 3d at 65 (same). Moreover, Congress’s

inclusion of an exhaustion requirement in the PLRA evinces its preference for the resolution of

inmate grievances through the administrative process, which further counsels hesitation. See 42

U.S.C. § 1997e(a); Oneil, 2020 WL 5820548, at *4.

       Second, as discussed above, Cohen’s Fourth and Eighth Amendment claims implicate

questions of where individual prisoners should be housed and why—quintessential prison

administration questions. Not only has Congress expressly delegated broad authority to the BOP

to make decisions regarding housing and stripped courts of jurisdiction to review challenges to

such decisions, see, e.g., 18 U.S.C. §§ 3621(b), 4042(a), but courts—including the Supreme

Court—have also consistently recognized that the judiciary is ill suited to consider such questions

of day-to-day prison administration. See, e.g., Turner v. Safley, 482 U.S. 78, 84-85 (1987) (“Prison

administration is . . . a task that has been committed to the responsibility of [the Legislative and

Executive] branches, and separation of powers concerns counsel a policy of judicial restraint.”);

Rodriguez, 2022 WL 356478, at *7 (declining to extend Bivens remedy to prison conditions claim

on this basis); Sabir, 2020 WL 3489522, at *4 (similar in First Amendment retaliation context);

Negron v. United States, No. 19 Civ. 5442, 2020 WL 5634304, at *1 (S.D.N.Y. Sept. 21, 2020)

(similar in Fifth Amendment context).

       The Court should be especially wary of extending Bivens to Cohen’s Eighth Amendment

claim, which in essence challenges FCI Otisville’s COVID-19 quarantine procedures.              See

Blanding v. Fed. Bureau of Prisons, No. 21 Civ. 1115, 2021 WL 5139912, at *6 (E.D. Pa. Nov. 4,




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2021) (“We should not authorize a damages remedy which would allow prisoners to litigate the

propriety of prisons’ COVID-19 policies.”). The COVID-19 pandemic was and remains “an

unprecedented international health crisis necessitating complex mitigation efforts,” and “[j]udges

are not ‘well suited’ to create a damages action for claims based on federal jails’ COVID-19

responses.” Blanding, 2021 WL 5139912, at *6. Indeed, as a general matter, a “Bivens action is

not a proper vehicle for altering an entity’s policy,” Abbasi, 137 S. Ct. at 1860 (citation and internal

quotation marks omitted), and extending Bivens to claims that challenge prison policies put in

place in response to a “worldwide pandemic”—such as quarantining arriving prisoners in order to

curb the spread of the virus within the prison—“would substantially affect government operations

and unduly burden federal correctional officials who must defend against such a suit in their

personal capacities.” Blakey v. Pistro, No. 21 Civ. 572, 2021 WL 2312647, at *3 (E.D. Pa. June

7, 2021) (declining to extend Bivens to claim “concerning the need to lockdown a penal facility

during a worldwide pandemic”); see also Hand v. Young, No. 20 Civ. 784, 2021 WL 3206833, at

*7 (E.D. Cal. July 29, 2021) (declining to imply Bivens remedy for Eighth Amendment non-

medical conditions of confinement claim based on allegations that the prison was locked down for

23 hours a day due to COVID-19, noting that the claim arose “from . . . decisions related to

effective management of prison populations in light of the COVID pandemic”), report and

recommendation adopted, 2021 WL 5234429 (E.D. Cal. Nov. 10, 2021).

       Finally, additional concerns also counsel hesitation with respect to Cohen’s First

Amendment retaliation claim. As a general matter, the Second Circuit has instructed courts to

“approach prisoner claims of retaliation with skepticism and particular care.” Dawes v. Walker,

239 F.3d 489, 491 (2d Cir. 2001). As with Cohen’s Fourth and Eighth Amendment claims,

“prisoners’ claims of retaliation pose a substantial risk of unwarranted judicial intrusion into




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matters of general prison administration” that are explicitly delegated to the BOP. Id. Indeed,

retaliation claims, like Cohen’s, that challenge a decision “to place an inmate in more restrictive

detention” implicate “real-time and often difficult judgment calls about disciplining inmates,

maintaining order, and promoting prison officials’ safety and security.” Bistrian v. Levi, 912 F.3d

79, 96 (3d Cir. 2018). Given these concerns, several circuit courts have concluded that “Congress,

not the Judiciary, is in the best position to weigh the costs and benefits of allowing a damages

action to proceed” for prisoners’ First Amendment retaliation claims. See Earle v. Shreves, 990

F.3d 774, 781 (4th Cir. 2021) (citation and internal quotation marks omitted) (declining to imply

Bivens remedy with respect to prisoner’s claim of retaliatory placement in special housing unit),

cert. denied, 142 S. Ct. 358 (2021); see also Mack v. Yost, 968 F.3d 311, 324-25 (3d Cir. 2020)

(similar); Buenrostro v. Fajardo, 770 Fed. App’x 807, 808 (9th Cir. 2019) (similar); Bistrian, 912

F.3d at 96 (similar); Petzold v. Rostollan, 946 F.3d 242, 252 n.46 (5th Cir. 2019) (similar). And

“[n]ationwide, district courts seem to be in agreement that, post-Abbasi, prisoners have no right to

bring a Bivens action for violation of the First Amendment.” White, 2020 WL 1536379, at *6

(quoting Akande v. Philips, No. 17 Civ. 1243, 2018 WL 3425009, at *8 (W.D.N.Y. July 11, 2018)

(collecting cases)).9

       Given the several special factors counselling hesitation articulated above, the Court should



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          The Government recognizes that in Cohen’s separate habeas action Judge Hellerstein
concluded that the Government’s purpose in remanding Cohen “was retaliatory in response to
Cohen desiring to exercise his First Amendment rights.” See 20 Civ. 5614, ECF No. 30. However,
the question here is not whether the Government retaliated against Cohen in violation of his First
Amendment rights; rather, the question is whether Bivens affords Cohen a damages remedy for his
First Amendment retaliation claim. In answering this question, courts have concluded, given the
concerns articulated above, that “Congress, not the Judiciary, is in the best position to weigh the
costs and benefits of allowing a damages action to proceed” for prisoners’ First Amendment
retaliation claims. See Earle, 990 F.3d at 781 (citation and internal quotation marks omitted).
And, if anything, the availability of the habeas process to Cohen only further counsels against
implying a Bivens remedy here. See supra Section II.C.1.


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conclude that Cohen has no Bivens remedy and dismiss this cause of action against the Individual

Moving Defendants.

    D. Assuming a Bivens Remedy Exists, the Individual Moving Defendants Are Entitled to
       Qualified Immunity

        Even if the Court were to decide that a Bivens remedy exists for the constitutional claims

asserted in Cohen’s complaint (which it does not), the Court should nonetheless dismiss Cohen’s

Bivens claims because the Individual Moving Defendants are entitled to qualified immunity for

their alleged actions.

        “Qualified immunity shields government officials from civil damages liability unless the

official violated a statutory or constitutional right that was clearly established at the time of the

challenged conduct.” Bacon v. Phelps, 961 F.3d 533, 542 (2d Cir 2020) (quoting Reichle v.

Howards, 566 U.S. 658, 664 (2012)). The qualified immunity analysis thus requires courts to ask

two questions: “first, whether the plaintiff [adequately alleged] that his constitutional rights were

violated, and second, whether the right at issue was ‘clearly established’ at the time of the alleged

violation.” Id. (quoting Pearson v. Callahan, 555 U.S. 223, 232 (2009)). Courts may “exercise

their sound discretion in deciding which of the two prongs of the qualified immunity analysis to

address first in light of the circumstances in the particular case at hand.” Id. (alteration and internal

quotation marks omitted) (quoting Pearson, 555 U.S. at 236).

        In considering qualified immunity on a motion to dismiss, the Court “‘accept[s] as true the

material facts alleged in the complaint and draw[s] all reasonable inferences in plaintiffs’ favor,’”

Dixon v. von Blanckensee, 994 F.3d 95, 101 (2d Cir. 2021) (quoting Garcia v. Does, 779 F.3d 84,

91 (2d Cir. 2015)), but it need not consider “‘conclusory allegations or legal conclusions couched

as factual allegations,’” id. (quoting Rothstein v. UBS AG, 708 F.3d 82, 94 (2d Cir. 2013)). “‘[I]f

the complaint does not allege a cognizable federal claim, the defendant is entitled to have his



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qualified-immunity motion granted promptly as a matter of law.’” Id. (quoting Munafo v. Metro.

Transp. Auth., 285 F.3d 201, 211 (2d Cir. 2002)).

       With respect to the first prong of the qualified immunity analysis, it is well established

“that Government officials may not be held liable for the unconstitutional conduct of their

subordinates under a theory of respondeat superior.” Iqbal, 556 U.S. at 676; see also Abbasi, 137

S. Ct. at 1860 (“A Bivens claim is brought against the individual official for his or her own acts,

not the acts of others. . . . Bivens is not designed to hold officers responsible for acts of their

subordinates.”).   Accordingly, a plaintiff must “plead . . . that ‘each Government-official

defendant, through the official’s own individual actions, has violated the Constitution.’” Tangreti

v. Bachmann, 983 F.3d 609, 612 (2d Cir. 2020) (quoting Iqbal, 556 U.S. at 676).

       With respect to the second prong, a right is “clearly established” if its contours are

“‘sufficiently clear that a reasonable official would understand that what he is doing violates that

right.’” McGowan v. United States, 825 F.3d 118, 124 (2d Cir. 2016) (quoting Anderson v.

Creighton, 483 U.S. 635, 640 (1987)). When undertaking this inquiry, courts consider what a

reasonable official in the defendant’s position would understand under a given set of

circumstances. See, e.g., Sloley v. VanBramer, 945 F.3d 30, 40 (2d Cir. 2019) (considering what

“every reasonable officer in the VanBramers’ position as New York State Troopers” would have

understood); McGuire v. Cooper, 952 F.3d 918, 923 (8th Cir. 2020) (considering what a

“reasonable supervisor in Sheriff Dunning’s position” would have understood); Herring v.

Keenan, 218 F.3d 1171, 1180 (10th Cir. 2000) (considering what “a reasonable probation officer

in Keenan’s position” would have understood). “‘Only Supreme Court and Second Circuit

precedent existing at the time of the alleged violation is relevant in deciding whether a right is




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clearly established.’” Torcivia v. Suffolk Cty., New York, 17 F.4th 342, 367 (2d Cir. 2021) (quoting

Moore v. Vega, 371 F.3d 110, 114 (2d Cir. 2004)).

       In evaluating whether both prongs of the test for qualified immunity have been met, the

Second Circuit has instructed courts to “look to ‘the specific context of the case’ at bar rather than

‘broad general proposition[s].’” Id. at 368 (alteration in Torcivia) (quoting Mullenix v. Luna, 577

U.S. 7, 12 (2015)). In keeping with this admonition, “[t]he Supreme Court repeatedly has

instructed that courts must not define clearly established law at ‘a high level of generality.’”

Bacon, 961 F.3d at 545 (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011)).

       1. The Complaint Fails to Adequately Allege that Defendants Barr, Carvajal, Gustin, or
          Petrucci Personally Participated in a Constitutional Violation

       Cohen’s complaint is entirely devoid of any non-conclusory allegations that Defendants

Barr, Carvajal, Gustin, or Petrucci personally violated Cohen’s constitutional rights. With respect

to Defendant Barr, the complaint provides only a conclusory allegation that he “issued directives

and guidance to his co-defendants which specifically governed the care, custody, and control of

plaintiff” and that “[a]t the behest of then President Trump, and upon his own volition, [he] directed

his subordinates to retaliate against plaintiff for the lawful exercise of his First Amendment rights

by remanding him back to prison, and placing and/or was jointly responsible for placing him in

solitary confinement at FCI Otisville.” See Compl. ¶ 38. Cohen’s complaint makes nearly

identical conclusory allegations regarding Defendants Carvajal and Gustin. See id. ¶¶ 39, 41.

       These allegations amount to little more than “[t]hreadbare recitals of the elements of a

cause of action, supported by mere conclusory statements.” Iqbal, 556 U.S. at 678. They are

“naked assertions devoid of further factual enhancement,” the very type of “unadorned, the-

defendant-unlawfully-harmed-me accusation” that fails to satisfy the pleading standard for

alleging personal involvement. Id. (alteration and internal quotation marks omitted). Given these



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threadbare allegations, the Court should conclude that Cohen’s complaint fails to adequately allege

that Defendants Barr, Carvajal, or Gustin, “through [ their] own individual actions,” violated any

of Cohen’s constitutional rights. Tangreti, 983 F.3d at 612.

       With respect to Defendant Petrucci, the complaint’s allegations are also not sufficiently

robust. Besides the allegations that mirror the threadbare, conclusory allegations asserted against

Defendants Barr, Carvajal, and Gustin, see Compl. ¶ 40, the complaint also includes a conclusory

allegation, with no factual support, that Defendant Petrucci “placed and/or was jointly responsible

for placing Mr. Cohen in solitary confinement where he remained for approximately sixteen (16)

days,” id. ¶ 27. This additional allegation does not, on its own or in combination, adequately allege

that Defendant Petrucci personally violated Cohen’s Eighth Amendment rights. “To state an

Eighth Amendment claim based on conditions of confinement, an inmate must allege that: (1)

objectively, the deprivation the inmate suffered was ‘sufficiently serious that he was denied the

minimal civilized measure of life’s necessities,’ and (2) subjectively, the defendant official acted

with ‘a sufficiently culpable state of mind . . . , such as deliberate indifference to inmate health or

safety.’” Walker v. Schult, 717 F.3d 119, 125 (2d Cir. 2013) (citation omitted). Even assuming

arguendo that the complaint elsewhere adequately alleged a sufficiently serious deprivation—it

does not—nowhere does it specifically allege that Defendant Petrucci was deliberately indifferent

to Cohen’s health or safety. Given the threadbare nature of Cohen’s allegations against Defendant

Petrucci, the Court should likewise conclude with respect to him that Cohen’s complaint fails to

adequately allege that Defendant Petrucci, “through [his] own individual actions,” violated any of

Cohen’s constitutional rights. Tangreti, 983 F.3d at 612.




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       For the foregoing reasons, even if the Court concludes that a Bivens remedy exists for the

constitutional claims asserted in Cohen’s complaint, it should nonetheless dismiss all

constitutional claims against Defendants Barr, Carvajal, Gustin, and Petrucci.

   2. The Right Was Not Clearly Established as to Any Alleged Constitutional Violations by the
      Individual Moving Defendants

       Further, the constitutional rights that Cohen has alleged were violated by the Individual

Moving Defendants were not clearly established at the time of the alleged violations.

       With respect to Defendants McFarland, Febus, and Pakula, Cohen’s allegations at most

implicate his First and Fourth Amendment rights. See Compl. ¶¶ 13-24, 42-44, 73-98 (none of the

allegations specific to these Defendants relate to the conditions of Cohen’s confinement). With

respect to Defendants Barr, Carvajal, Gustin, and Petrucci, Cohen also alleges violation of his

Eighth Amendment rights. See id.; see also id. ¶¶ 99-102. To determine whether the alleged rights

at issue here were clearly established at the time of the alleged violations, the Court must first

determine what these rights are. To do so, it must examine “the specific context” of this case rather

than “broad general proposition[s].” Torcivia, 17 F.4th at 367. Thus, the rights at issue here are

not the general rights protected by the First, Fourth, and Eighth Amendments to be free from

retaliation, unlawful seizures, and deliberate indifference to health and safety respectively. See,

e.g., Bacon, 961 F.3d at 545 (“In this case, the right at issue is not the general proposition that a

prisoner has a First Amendment right to send mail and cannot be punished for its contents.”

(emphasis added)). Rather, defined at the appropriate level of specificity, the First Amendment

right at issue is the right of an individual in BOP custody to be free from alleged retaliation in the

form of restricting his First Amendment rights in the FLM agreement and of remanding him to

federal prison rather than transitioning him from furlough to home confinement when he objected

to the terms of that agreement; the Fourth Amendment right at issue is the right of an individual in



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BOP custody who was on furlough and being transitioned to home confinement not to be remanded

to federal prison upon his objection to the conditions in the FLM agreement; and the Eighth

Amendment right at issue is the right not to be quarantined under restrictive conditions of

confinement upon arrival to a federal prison during the COVID-19 pandemic.

       The relevant question for the Court is whether precedent from the Second Circuit or the

Supreme Court would put a reasonable Government official in each of the Defendants’ positions

on notice that they could not take the alleged actions that Cohen contends violated his rights. See

Bacon, 961 F.3d at 545; Sloley, 945 F.3d at 40; McGuire, 952 F.3d at 923. It did not.

       With respect to the alleged First Amendment violation, the Supreme Court and the Second

Circuit have held that “[a] prisoner retains only ‘those First Amendment rights that are not

inconsistent with his status as a prisoner or with the legitimate penological objectives of the

corrections system.’” Bacon, 961 F.3d at 543 (quoting Pell v. Procunier, 417 U.S. 817, 822

(1974)). On this basis, the Supreme Court has upheld various restrictions on prisoners’ First

Amendment rights, see, e.g., Pell, 417 U.S. at 833-35, and the Second Circuit has noted that courts

have “routinely . . . uph[e]ld prison policies restricting First Amendment rights that would not be

permissible outside the prison context,” Giano v. Senkowski, 54 F.3d 1050, 1053 (2d Cir. 1995).

Thus, a reasonable Government official would not have understood that it would violate the First

Amendment to impose certain free expression restrictions on an individual in BOP custody when

transitioning him to home confinement or to remand the individual to prison when he objected to

the restrictions. See McGowan, 825 F.3d at 124.

       Further, with respect to the alleged Fourth Amendment violation, the Second Circuit has

recognized “Supreme Court precedent holding that prisoners cannot dictate the particular

institution within a penal system to which they are confined.” Lewis v. Rawson, 564 F.3d 569, 578




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n.8 (2d Cir. 2009) (citing cases); accord McKune v. Lile, 536 U.S. 24, 39 (2002) (plurality opinion)

(“It is well settled that the decision where to house inmates is at the core of prison administrators’

expertise.”). In light of this authority, and given Congress’s express delegation of broad authority

to the BOP to make housing decisions regarding individuals in its custody, see, e.g., 18 U.S.C. §§

3621(b), 4042(a), a reasonable official would not have understood that it would violate the Fourth

Amendment to remand to federal prison an individual already lawfully in BOP custody who

objected to conditions that were to govern his home confinement.10 See McGowan, 825 F.3d at

124.

       Finally, with respect to the alleged Eighth Amendment violation by Defendants Barr,

Carvajal, Gustin, and Petrucci, the Second Circuit has held in an analogous context that even

Eighth Amendment claims predicated on SHU confinement (where Cohen was confined for less

than 24 hours) do not accrue until “after an inmate has been confined in the SHU for a prolonged

period of time,” Gonzalez v. Hasty, 802 F.3d 212, 224 (2d Cir. 2015) (emphasis added), and has

reiterated the general proposition that “‘[r]estraints on an inmate do not violate the [Eighth]

[A]mendment unless they are totally without penological justification, grossly disproportionate, or

involve the unnecessary and wanton infliction of pain,’” Horne v. Coughlin, 155 F.3d 26, 31 (2d

Cir. 1998) (quoting Smith v. Coughlin, 748 F.2d 783, 787 (2d Cir. 1984)) (internal quotation marks

omitted). In light of this authority, and given the unprecedented nature of the COVID-19 pandemic

and the need to adjust prison policies in response to the threat posed by it, a reasonable official

would not have understood that it would violate the Eighth Amendment to quarantine an individual



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          Moreover, another court to have considered the issue concluded that it is not even clearly
established whether transferring an individual in BOP custody from home confinement to prison
confinement results in a new “seizure” that may give rise to a Fourth Amendment claim. See
Ortega v. U.S. Immigration and Customs Enforcement, 737 F.3d 435, 441 (6th Cir. 2013)
(affirming dismissal of Fourth Amendment claim on this basis).


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in BOP custody under restrictive conditions of confinement for a limited period of time upon his

arrival to a federal prison in response to the COVID-19 pandemic.

       In sum, because the rights at issue here were not clearly established at the time of the

alleged violations, the Individual Moving Defendants are entitled to qualified immunity. Thus,

the Court should dismiss all constitutional claims against them.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant the Moving Defendants’ motion and

dismiss Cohen’s complaint against them in full.


Dated: New York, New York
       April 4, 2022

                                                     Respectfully submitted,

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